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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


    DONALD AGEE, JR., et al.,

          Plaintiffs,
                                                  No. 1:22-cv-272
    v.
                                                  Three-Judge Court
    JOCELYN BENSON, et al.,

          Defendants.
    ____________________________/


                              ORDER SCHEDULING HEARING


         IT IS HEREBY ORDERED that the hearing regarding remedy is scheduled for Friday,

   January 5, 2024, at 1:30 p.m., 174 Federal Building, 410 W. Michigan Avenue, Kalamazoo,

   Michigan.



   Dated: December 26, 2023                              /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge
                                                        On Behalf of the Three-Judge Panel
